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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 08-10010-CR-KING


 UNITED STATES OF AMERICA,

             Plaintiff,

 v.

 ELINER CAMARGO-OTANO, et al.,

           Defendants.
 ______________________________
                                  O R D E R

            THIS CAUSE is before the Court on defendant Jesus Garcia-

 Cordero’s Motion to Amend Conditions of Release by Substituting

 Collateral (DE 31).       The Government filed a response to the motion
 stating they do not oppose the motion.         Being fully advised, it is

 hereby

             ORDERED AND ADJUDGED that the motion is GRANTED.             The

 property located at 1418 McArthur Avenue, Lehigh Acres, Florida, as

 noted in Paragraph 4 of the Affidavit (DE 32-2) signed by the

 bondsman,    can   be    substituted    as   collateral    to   secure   the
 defendant’s bond which was set at $50,000.00 CSB w/Nebbia.

             DONE AND ORDERED at Fort Lauderdale, Florida, this 29th

 day of October, 2008.




 Copies to:

 AUSA Ron Davidson (MIA)
 Joaquin Perez, Esq.
